Case 1:24-cv-03464-LTS Documenti Filed 05/01/24

Page 1 of 87

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Ahania, labose

CV

Write the full name of each plaintiff.

L_.-
CLERK’S OFFICE
S.D.N.Y.

(Include case number if one has been

assigned)

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section Il.

COMPLAINT

Do you wast a jury trial?

es LINo

NOTICE

See Federal Rute of Civil Procedure 5,7,

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual's full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.

Rev. 1/9/17

Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 2 of 87

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
Oo Federal Question
LJ) Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?

Thode Secteke, f- OF 2oitp

Latham Ato

B. If you checked Diversity of Citizenship
1. Citizenship of the parties

Of what State is each party a citizen?

The plaintiff , , is a citizen of the State of
(Plaintiff's name)

(State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2

Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 3 of 87

If the defendant is an individual:

The defendant, , is a citizen of the State of
(Defendant's name}

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

If the defendant is a corporation:

The defendant, , is incorporated under the laws of

the State of

and has its principal place of business in the State of

or is incorporated under the laws of (foreign state)

and has its principal place of business in

If more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

Il. PARTIES

A, Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

PohvctoaL N Lahoge)

First Name Middle Initial Last Name

3105 WW Poque dt . 4232

Street Address U

Midd Dadt, Mian Fre BSIA-
County, City . State Zip Code
4b. W564 -Y5{| Labole. PN C4yvall, Com
Telephone Number Email Address (if availablg)

Page 3

Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 4of 87

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1:

Defendant 2:

Defendant 3:

nw,

Teun Cow’®

First Name Last Name

Current Job Title {or other identifying information)

WA bya 2

Current Work Address s (okbther address where defendant may be served)

County, City State Zip Code

COMOS —ENaicn i ée
First Name ast Name

Current Job Title (or other identifying information)
i . hae i a et — Ma he ata .
} SS) athe rer He r] ¢:

Current Work Address (or othér address where defendant may be served}

Say Wile NY 82

County, City / State Zip Code
First Name Last Name

Current Job Title (or other identifying information)

GO_Srate

Current Work Address {or other address where defendant may be served}

nv [2297

County, City / state Zip Code

Page 4

Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 5of 87

Defendant 4: Cheor

First Name Last Name

Os TH Doe, Job Title (or other identifying information)
eee, WL TRADE Comte (1a Glan  3b-

Abe Work Address (or other address where defendant may He served}

NowYuee Coury , Nou) Vie NY oud?

Cou nty, City State Zip Code

lil. STATEMENT OF CLAIM

Place(s) of occurrence: W2hal? / Cyber

Date(s) of occurrence: | AA) PBR. - Cydicena
FACTS: “+ Conan Be. er1eigs2s)

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

Rear SCL attoChud fontin and Cdn daut ala,

He Append be hnaaee. “Ta O
Vehbin aural ( yep Choud pea

Page 5
Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 6 of 87

INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

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IV. RELTEF

State briefly what money damages or other relief you want the court to order.

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gust a) Mi minatacd, dambagl .
KC mnetary) DEP, | am Caqutrno, M52) milli

Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 7 of 87

V. PLAINTIFF'S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages I necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit-n IF

p50 1- 2024 T2

Dated _ Plaintiff's ignature

P Natura N [shes

First Name Middle Initial Last Name

b125 W Flagiae, Ge WLS

Street Address

Mdm Dade , " Maat. fL 32 d4-
County, DCA State Zip Code
404 WA AS7 lalkate PN Cegynih wv
Telephone Number Email Address (if availaylg)

Ihayé read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
Yes [INo

if you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please deo not attach the form.

Page 7

Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 8 of 87

Please see Additional Defendants listed in Complaint:

Sean Combs

Combs Enterprises

Combs Global

Ciroc

Deleon Tequila

Bad Boy Entertainment
Revolt Media and TV LLC
Bad Boy Records

Epic Records

DOE Corps Capital Preparatory Charter School
Love Records

The Sean Combs Foundation
Sean John

SCAN Cons CAPITAL
Case 1:24-

STATE GF NEW YORK FEDERAL COURT NEW YORK COUNTY

Pshatoia LaRose
3725 W Flagler St #233
Miami, FL 33134

Petitioner

Vv. Case No.

Sean Combs

Combs Defendants

1440 Broadway Frnt 3
New York, NY 10018-2301

Respondent

PETITION AND COMPLAINT

COMES NOW, Petitioner Pshatoia LaRose, and states the fallawing:

Plaintiff alleges that Respondent, Sean Combs through the entities of Combs Enterprise and Combs
Global, as well as individually, committed the acts of violating the intellectual property rights of
Plaintiff's phone contents and conversations, which were re-used in publications, as well as the invasion
of privacy and harassment. All SM Defendants are included in this complaint. The Respondent caused
harm and loss to Plaintiff both directly and indirectly through third party associations, horoscope script
writings, and Respondent's brand. As a result of Respondent's actions, Petitioner has experienced
severe financial loss and pain and suffering which has resulted in irreparable harm and loss to Petitioner.
Plaintiff seeks damages of $521 million. Plaintiff is requesting a Jury Trial.

Defendant has also violated the Lanham Act, which provides that “Any person who, on or in connection
with any goods or services, or any container for goods, uses in commerce any word, term, name,
symbal, or device, or any combination thereof, or any false designation of origin, false or misleading
description of fact, or false or misleading representation of fact, which—(A)is likely to cause confusion,
or to cause mistake, or to deceive as to the affiliation, connection, or association of such person with
another person, or as to the origin, sponsorship, or approval of his or her goods, services, or commercial
activities by another person.” 15 U.S. C. § 1125(a}(1}. Defendant allowed for infringement of Plaintiff's
image and personal property through its ineffective protection of her data privacy, and is thus liable
under the Lanham Act.
Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 10 of 87

Defendant has already made a settlement to another party, Cassandra Ventura, for similar claims to
Plaintiff's, and there are other cases ongoing involving Defendant. Defendant has been in the news
frequently regarding similar cases and allegations. Four women, including Ms. Ventura, have filed
against Defendant for abuse and sexual assault, filing in the New York Superior Court. In a similar case,
the United States District Court for the Southern District of New York awarded damages to E. Jean
Carroll against former President Donald Trump.

Petitioner respectfully asks this Court for damages owing from Defendant's conduct, as well as for an
order for Respondent to disclose all horoscope websites that he operates or is associated with, as well
as for any other relief that this Court may deem proper.

Resp subphitted, .

;

hatkia LaRose
laintif
Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 11 of 87

Summary of Contents:

Section: Pages:
Summary Introduction 3
Business Mediums & Companies associated with Respondent 4-17
Criminal Background of Respondent 18-26
Damages and Harm to Personal Property and Petitioner 27-40
Phone Tapping 41-65

Theft and Hacking of Phone Datla reused for Business and Personal Use — 66-78
Summary Introduction:

1. Petttioner, Pshatoia LaRose, proceed with filing claims against Respondent, Sean
Combs for both Civil and Criminal Actions.

Criminal Allegations against Respondent, Sean Combs:

In the Domestic Violence Division, [, Petitioner, Pshatoia LaRose, proceed with filing for
a ix Parte Trial of Criminal Allegations against Respondent, Sean Combs for Stalking,
Thefi and Hacking of Phone Data, Premeditated Threats, Unauthorized and Hlegal Phone
Tapping and Spying, and Damages to Petitioner, Pshatoia LaRose, Personal Property and
Potential links to Petitioner being Hospitalized tor Poisoning, but not linnted lo only
these actions.

Civil Allegations against Respondent, Sean Combs:

In the Civil Division, 1, Petitioner, Pshatoia LaRose, proceed with filing for a Ex Parte
Trial of Civit Allegations against Respondent for Unfair Business Practices,
Unauthorized Use of Intellectual Property, Unauthorized Theft of Petitioner, Pshatoia
LaRose Phone Data for Business and Personal Use, Untair Business Practices to deter
Potential Business from Petitioner Pshatoia LaRose, Defamation to Petitioner Pshatoia
LaRose, form Conspiracy and Threals lo Potentially cause Harm to Petitioner Pshatota
LaRose and others, causing severe Emotional Distress, resulting in Petitioner living in
hurnane for approximately 1 Year, Loss of Current and Potential Business Earnings.
Including Criminal Allegations of Stalking, Theft and Hacking of Phone Data,
Premeditated Threats, Unauthorized and IWegal Phone Tapping and Spying, and Damages
to Petitioner, Pshatoia LaRose, Personal Property and Potential links to Petitioner being
Hospitalized for Poisoning, but not limited to only these actions.
Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 13 of 87

Business Mediums & Brands associated with Respondent:

The Respondent, Sean Combs is associated with the Following Companies he Owns or is Paid
by. Respondent, Scan Combs works for or is hired by several Horoscope Websites in which
Respondent, Scan Combs uses as a Medium to Stalk Petitioner, Pshatoia LaRose Use
unauthorized Theft of Petitioner, Pshatoia LaRose Phone Data for Business and Personal Use,
Unfair Business Practices to deter Potential Business tram Petitioner Pshatoia LaRose,
Defamation to Petitioner Pshatoia LaRose, form Conspiracy and Threats to Potentially cause
Harm to Petitioner Pshatoia LaRose and Innocent others, as well as Ponzi Scheme and I!legal
Monopoly. Please sce attached images regarding Respondent, Scan Combs, Untair Business
Practices, Thett of Data, Stalking and allegations listed above.

Brands Respondent Owns and has used Stolen Images trom Petitioner Phone for
inspiration to recreate for his Brands but not limited to:

Combs Enterprises

Combs Global

Cirec

Deleon Tequila

Bad Boy Entertainment
Revolt Media and TV LLC
Bad Boy Records

Epic Records

DOE Corps Capital Preparatory Charter School
Love Records

The Sean Combs Foundation
Sean John

Horoscope Websites Respondent Owns or Hired by including but not limited to:

JessicaAdams.com
CaliforniaPsychics.com
Horoscope.com
Astrolis.com

ITutf post.com
YourTango.com
Horoscope App
Astrotalk.com
Ask-Oracie.com
Vogue.
Tarot.com
Prokerala.com
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Case 1:24-cv-03464-LTS Document1 Filed 05/01/24, Page 16 of 87

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Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 19 of 87

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Case 1:24-cv-03464-LTS pocument 1 Filed 05/01/24 Page 20 of 87

California “"* Psychics

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Thursday

© ctober 5, 2023

Scorpio 4 ongBco pe for Tomorrow

Z irself and sharing ideas can be tough
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_xpressing ve
ercury collides with pessimistic

ath im in your house of self- expression. Not trusin.
your intelligence and originality can lead of Cre

Dlg Kail the same time, you might feel compelled i

‘erie someone that your ideas are on point.
Everyone has their off days. Don’t push it If you're not
feeling Inspired. Tomorrow is another day. With the
SUPLIN your backstage realm, your vibe is pretty | laic

picky collides with sociable Venus, ye

may # estion whether you have the energy for
_ date or get- together. Doing something owkey n mal

be ‘ene

Ovate..A Love Psychic can answer your
burning questions about a playmate.

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Case 1:24-cv-03464-LTS Documenta -Eled. 05/01/24 Page 2: of 87
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(May 22 - June 21)

Today’s
Horoscope

Overview

ling self-
: of nd exercise restraint in
ofighips. This is’ -time to look inward, to be
ord 1d Meifative. If you have endured a loss.
= vs @ a grandparent or grandparent figure, look
ffi we and loved ones for ¢ 7 place and hgpe. You
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mopearance
gid upbeat.
Jind health.
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The right attitude is vital and
control today.

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Case 1:24- -CV- -03464- LTS t Filed 05/01/24 Page 23 of 87
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Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 25 of 87

month, i it: could be in the form fat new boss.
coworker, or a team

t. Partnerships and

balanced r 1c a iaallf the main themes in

7a frinning today. During Venus in

Vi irgo, focus your attention on cultivating
positive interactions. Channel Virgo's energy

into your social interactions. Be personable

and approachable. Aim to be diligent but

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verizon GaSe 1:24-cv-03464-LTS PUT eel ay Filed 05/01/24 Page 26 of ge 45%

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Cancer Daily
Love Horoscope ai

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iweetheart Yqgu tend to put a lot of

g nice for your
pressure © fourself when it comes to
acts of love, and this might become

apparent as loving Venus dashes into

_~

Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 27 of 87

Criminal Background of Respondent:

Petitioner filed Restraining Order against Respondent. Sean Combs on _August 1, 2023
for Stalking , Theft of Phone Data, Phone Tapping, Premeditated Threats, Unfair
Business Practices and Unauthorized reuse of InteHectual Property, but not limited to
only these allegations,

Since Petitioner filed Restraining Order against Respondent Sean Combs, several Women
have recently came forward regarding Defendants Domestic Violence Disputes, including
similar ¢laims against Respondent Sean Combs that Petitioner also claim involving
Unauthorized Phone and Video Tapping, Verbal and Physical abuse, Stalking and
Harassment allegations.

Respondent, Sean Combs initially denied recent Domestic Violence claims and lawsuits
stating they were crroncous and fictitious similar lo response Respondent, Sean Combs
stated to claim Petitioner had against him. However. a few days afler Respondent, Sean
Combs denying Recent Domestic Violence claims and lawsuit. they was an undisclosed
Setilemeni amount Paid to Petitioners and Plaintiffs. Please see attached images
regarding Respondents, Scan Combs most recent Domestic Violence claims and lawsuits
similar to claims Petitioner, Pshatoia LaRose filed.
- Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 28 of 87

Cassie Files $30 Million Lawsuit
Against Diddy —Accuses Him Of
Rape And Repeated Physical Abuse —

Throughout Their ir Relationship —

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Case 1:23-cv-1009B8 Document1 Filed 11/16/23 Page 1 of 35

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

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CASANDRA VENTURA

Civil Case No., 23-cv- [0008
Plaintiff, .

v.

. COMPLAINT

SEAN COMBS, BAD BOY ENTERTAINMENT, _ :
BAD BOY RECORDS, EPIC RECORDS, COMBS : JURY TRIAL DEMAND
I NTERPRISES, LLC, and DOE CORPS. 1-10,

Defendants.

: JRIGGER WARNING:
THES DOCUMENT CONTAINS HIGHEY GRAPHIC INFORMATION GF 4
SEXUAL NATURE, INCLU DING SEXUAL ASSAULT

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aki Verizon Gace 1:24-cv-03464-LTS AACE Ss Ly Filed 05/01/24 Page 31 of ed Yo"

pete

WUC v OAS)

#TSRUpdatez: Cassie Settles
Lawsuit Against Diddy Accusing

OaAY

@AP | iked bv lauramaovan and 57.590 others

Case 1:24-cv-03464-LTS Document 1 Filed 05/01/24 Page 32 of 87

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because you know Cadillac and AT&T gonna pull out. I'll
give you a few dollars for it now! Sell it to me, then we can
be friends <41'm serious call my phone

“Case 1: 24-c -CV- -03464- LTS” ~ Document 1 Filed 05/01/24 Page 35 of 87

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40,004 likes
hollywoodunlocked Woah! In more shocking claims,

Damages and Harm to Personal Property and Petitioner:

Petitioner, Pshatoia LaRose has included Damages to her Vehicle in which Respondent,

Sean Combs stated via Business Medium, Horoscope Website, Vogue in that linked him
to Damaging Petitioners Tire on more than One Occasion. The Most recent Tire Damage
that occurred on July 23, 2023 caused Petitioner, to have Severe Damages to her Velicle
causing it to be inuperable for $ Months now.

Also, Petitioner, Pshatoia LaRose is a Resident of Miami, FL, Each Time Respondent,
Sean Combs, has had an Event in Miami, FL he has potentially had Petitioner, Poison and
Hospitalized. Petitioner, tried to leave the area when she noticed Respondent would be in
town however, Petitianer did not leave soon enough and Pshatoia LaRose was
hospilalized with Moderate to Severe Condition,
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Case 1:24-cv-03464-LTS . Docwmens1

Page 37 of 87

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Product Details

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245/40R17 a4 He

TIRE SPECIFICATIONS |

Size 245/40R17
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FEATURES
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Total Tire Price

Page 39 of 87

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Case 1:24-cv-03464-LTS Document1_ Filed 05/01/24 Page 40 of 87

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CUSTOMER INFORMATION
Pshatoia Larose

+14046542159

CAR INFORMATION
Mercedes-Benz

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Mileage: 219126

Tag 4 8039

ORIGINAL CUSTOMER R
RECOMMENDATIONS rauests

C/S SHE WENT TO PUT FUEL IN HER VEHICLE
AND IT WAS ALL JUST | SPILLING OUT NEAR
THE PASSENGER REAR TIRE PLEASE CHECK
AND | ADVISE

REMOVED REAR SEAT TO ENSURE SENDING UNIT AND FUEL
PUMP WERE NOT LEAKING; FOUND TO BE OKAY, TRACED
BACK TO FILLER NECK AREA AND FOUND DAMAGE TO
FENDER LINER AND FILLER NECK OF FUEL TANK, FUEL TANK
NEEDS TO BE REPLACED , THERE APPEARS TO BE SOME
OUTSIDE INFLUENCE THAT CAUSED THE DAMAGE TO THI

FUEL FILLER NECK.

C/S TPMS SYSTEM IS INOPERATIVE (OR ONE
OF THE SENSORS IS | INOPERATIVE) PLEASE

CHECK AND ADVISE

BOTH FRONT TPM SENSORS INOP; REAR WORK OKAY,
FRONT ONES WONT GIVE READING. REPLACE BOTH FRONT

TPM SENSORS

OTHER

fa

COURTESY INSPECTION

SERVICE ADVISOR INF
Francisco Gonzalez
TECHNICIAN

Dante Rocha

Total Approved: $0.00
Original Approved: $0.00
$4.4 14,26

Repair Estimate:

Total Approved: Swans
Original Approved: s Hae

Repair Estimate. — $924.05

Total Approved: $0.00
Original Approved: $0.00
tqgf fow in the now or learn to get to another

pu have your toolkit ready to see you

through this phase in your life, and while it is

always good to learn and evolve, it is not a

rerequisite for you at the moment. Look Te

angels to usher i in

Ont your flight. Focus

Case 1:24-cv-03464-LTS moguty 4 Filed 05/01/24 Page 42 of 87

11:35 AM

case pe an @ase 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 43 of 87

MAIL RETURN ONLY

PO BOX 8486 - CORAL. SPRINGS FI. 33075-8496

900-984-9115

May 08, 2023

PSHATOIA N LAROSE
8815 BISCAYNE BLYD
MIAMI FL 33198-6202

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4 I

Dear Pshatoia N Larose:

HR
RG AGO64 26 BOG AM IEMNA IANS ARO OIRO ES IiH 1 ee

AN OFFER FOR YOU

en Esmee BO) 308 3975

Office Hours:
Munday through friday
8:00AM to LIDOPM EST/LOT

Re: 62195876 Setlement Offer
hitgeallections carn
PIN® 1.62195876.5734

Our client has authorized us to offer you a settlement option in an effort to assist you in resolving your account halance.
This offer is valid for 30 days from the date of this letter. If you need additional time to respond to this offer, ar need to
make other arrangements, please contact us. We are not obligated to renew this offer.

Settle your balance of $6,573.00 by making a one-time payment of $3943.80 within 30 days of the date of this fetter.

To make your payrnent, just fill in your credit card information on the reverse side of this notice, or enclose your
check/money order payable to the creditor, along with the payment voucher below, To pay using our automated IVR

accessible 24 hours a day, call 855-PAY-HRRG (855-729-4774}, or visit our website at hrrgcollections.com. Both options
require the PiN# and the RE: # fisted above along with the last four digits of your social security number.

This communication is from a debt collector. This is an attempt to callect a debt and any information obtained will be
used for that purpose, (NOTICE: SEE REVERSE FOR IMPORTANT INFORMATION}.

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(NOTICE: SEE REVERSE SIDE FOR APPLICABLE DISCLOSURES AND PAYMENT INFORMATION.)

Reference #: 62 195876

Creditor

PARAGON CONTRACTING SYC L.
INPHYNET S BROWARD LIC
—INPHYNET S BROWARD LLC
INPHYNET S BROWARD (LC
INPHYNET S BROWARD LLC

Total Balance: $6,573.00

Account #

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0325161640-50232443

Regarding

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Posts

"LOVE
SATURDAY
DECEMBER 3, 2022
Basel Weekend |

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DAY PARTY ©

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PUFF.

DADDY.

#1 R&B SINGLE “GOTTA MOVE ON”

- THE@RBAN

1000 NW 2ND AVE, MIAMI, FL 33134

_www.HeadlinerEvents.com oo

2,133 likes

Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 45 of 87

ae september 28, 2023 Advert Hontth
Patient: Pshatoia Larose Department AHEWL ED 13691 E
Date of Birth: 07/21/1988 Information: COLONIAL OR
Date of Visit: 9/28/2023 ADVENTHEALTH

WATERFORD LAKES ER
13691 EAST COLONIAL
DRIVE

ORLANDO FL 32826-4930
407-281-3600

To Whom It May Concern:

Pshatoia Larose was seen and treated in our emergency department on 9/28/2023.
She may return to work on 10/02/2023.

If you have any questions or concerns, please don't hesitate to call.

Ernest Page |], MD
~ Case 1:24-cv-03464-LTS Oe Filed 05/01/24 Page 46 of 87

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Advent Health
Date of Birth: orrziigsa °° apartment ANEW. ED 13694 e
Date of Visit: 9/28/2023 Information: ADEN AOR
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WATERFORD LAKES ER

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DRIVE

ORLANDO FL 32826-4930
407-281-3600

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Pshatoia Larose was seen and treated in our emergency department on 9/28/2023.
She may return to school On 10/02/2023.

If you have any questions or concerns, please don't hesitate to call,

_ Ernest Page li, MD

Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 47 of 87

=IDTSNTSIXXZ Account Number. 5010159420217

Med Rac No: 506648717
Pre . Patient Type: Emergency Service
P Pared for: . Date of Service: 9/28/2023
SHATOIA LAROSE Payer Name: AETNA HMO

Expected Services
Benefit Category Units # of Visits Services
Emergency 1 4 99283 - R11.2 - HC EMERGENCY DEPARTMENT
Service _

VISIT MODERATE SEVERITY

Estimated Patient Responsibility Calculation

COB Benefit C Negotiated Deductible
enerit Category Amount Remaining Go-Pay
Primary Emergency Service $735.97 $0.00 $0.00

SecondaryFamilyDeductibleRemaining
Based on the services estimated and your insurances benefits, it is estimat

Common Independent Practitioners How was this «
Emergency Provider Anesthesiolo . This is haw we dete

: ej gy Provider: ' eterm
Hee Emergency Physicians of Tearn US Anesthesia Partners Deductible - Copay) *¢

ea ~ |

Phone: (888) 952-6772 Phone: (407) 667-0505 Remaining Deductible
Radiology Provider: Pathology Provider:
AHMG Radiology of Central Florida Central Florida Pathology Associates
Phone: (866) 487-7571 Phone; (800) 693-3271

Our facility complies with applicable Federal civil nights laws and dees nol discrininate on the basis of race. color, national origins age, dations oo
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age, disability, or sex.
Page 48 of 87

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Case 1:24-cv-03464-LTS Documenti1 Filed 05/01/24

Page 49 of 87

TABLE RESERVATIONS 305.674.4680

DEREK LIVNIGHTCLUB.COM

FONTAINEBLEAU MIAMI BEACH - 4441 COLLINS AVENUE

OUT NOW
Illegal and Unauthorized Phone Tapping and Spying:

1, Petitioner, Pshatoia LaRose have attached Images from my Phone of Private Text
Messages in which Respondent, Sean Combs has Hacked and Stolen from my Phone. As
| noticed, My Phone Conversations being reused via Respondent, Sean Combs Business
Mediums, | have not used any {Cloud or [Messenging Data in over {| Year now due to
ongoing Stalking. However, Respondent, Sean Combs hacks into my Phone and is able to
see my Private Text Conversations as well as Phone Conversations in which | have
Witness(es) that can clarify our Phone Conversations are Tapped Unauthorized by
Respondent, Sean Contbs, | have attached Images also for further review of Defendams
Stalking Behavior and Thett of Petitioner, Pshatoia LaRose, Phone Data.
ali verizon Gase 1:24-cv-03464-LTS Dpcy Rent Ay Filed 05/01/24 Page 51 of Ga’ 13% ©

Neal 2 i.@ “e

Omg. Scenic route will take 2- 3
months ..lol

“en (October 23 - N
Today’s Horoscope
LOVE

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Lov os,

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~oroscope for November 7th 20272

A changagpf environment would do you a world of
good. You feel weighed down by the competition
around you. Rise above the noise of gossip and ill
will. Spend time with those you trust and hash out
some plans for the future together. Reach out in all
directions today, to all the people that make up you:
social world. You are in the mood to mingle and be
Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 53 of 87

Case 1:24-cv-03464- LTS. vey ent1 Filed 05/01/24 es 54 of 87

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OSG efor November 7th 7023

An important decision requires your attention. See:
the advice of yi ir significant otherorclose —
companions. An,elder, ‘perhaps a grandmother or
grandmetherly gure, wilgplay an important role in the
day. Weigh your options thoroughly before —
committing. Today is a peffect day to reach out to
loved ones who have been on your side. Seek out
soothing company. You feel a need to socialize and
belong. You can literally experience the entire world

through your friends' eyes. —

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ADVERTISEMENT

Tomorrow's Sagittarius

Horoscope
Change Sign
Aci eee er es svelbyae t | Cro MO RROW )

Nov 11, 2023

If there were a quick and easy way to cut soul
ties, you'd be the first to pull out your celestial

scissors. When it comes to removing toxic
Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 56 of 87

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Change Sign

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Nov 11, 2023

If there were a quick and easy way to cut soul
ties, you'd be the first to pull out your celestial
scissors. When it comes to removing toxic
energy from your life, even the memory of an

ex has to go.

The Moon entering Scorpio brings out the
deep desire to seek truth. There may be a few
things in the past you're holding on to that
stop you from having the life you know you
can live. Block the ex. Delete their number. It's

time to move on.
Case 1:24-cv-03464-LTS Documenti- Filed 05/01/24 Page 57 of 87

Neal 2 ioe

sector until December 28th, makingighis a good

time for adjustin your workout routine. If you

prefer par therin with a friend, an_
account: ability sy rem can be useful and perfect
for channeling t nis honest and forchr ight

ener BY:

ete eee sce) hee ( TOMO KROW )

Nov 10, 2023

You never know who you may meet at the right
Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 58 of 87

~ Shop + Free Tarot Psychic
PY Reading Achoce

Love |

Cancer Daily
Love Horoscope “ais

November 11, 2023: Taking a risk to
create a newfound sense of hope ir .
your relationship could pay off now --
just maybe not how you would
originally expect! Love is an adventure

within itself, arid you may be
mo Cy COC Document1 Filed 05/01/24 Page 60 of 87 —

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Lave : Free Tarot Psyche,

v Shop +

Horoscope Reading Advice

just maybe not how you would
originally expect! Love is an adventure
within itself, and yOu may be
embarking on a new chapter while go-
getter Mars has a staring contest with

unpredictable Uranus in your idealistic

lith house. The best rewards usually
come after a period of uncertainty or
upheaval. Combat any overwhelm by
tapping into your toolbox of self-
soothing techniques as you navigate
this snift.

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most anything else exc

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time, in the light of this, when you go thre
solar return in-Scorpio = just been or on the wa,

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Case 1:24-cv-03464-LTS Documenti Filed 05/01/24 Page 62 of 87

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California Psychics

Tuesday, November 7, 2023

Scorpio Horoscope for Tomorrow

You tend to read too much into things as percepiiv:
Pallas merges with the South Node in your
mysterious twelfth house. When you connect the
clots, they're unlikely to reveal the crimes and
mvusdemeanors that you envision. Don't let parano'.
@ YOU and everyone else crazy. Jumping to
wrong conclusions can be disastrous. Instead,
redirect your attention toward verifiable facts.
Likewise, a crippling fear may have no basis in realy,
All signs. indicate-that it’s in a.your head. Doing
something | you dort think yott tcan do can anninila
your insecur rity, on A the spot. Instead of investing ir
UY fears; bank on 1 you r ability to figure things Gur
Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 64 of 87

Neal Jk, @ @

Emphasized "| go after what |
want .... and I get it too alla...’

Ok | see, Yep Sup¢r To do Lists! J

=

What are breakfast hours ?

6am -10 am —
Omg. Are you Up
aa Verizon ase 1:24-cv-03464-LTS = Dpaymemy fy Filed 05/01/24 Page 65 of  &/%

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Love _ Free Tarot Payohia

ne ‘ Shop + ali A oie.

Horoscope : Reading Advice:
—_ — wt

home and snuggle with your

sweetheart. Unfortunately, you

orobably have other responsibilities.
Asking for a date night disguised asa
run for errands may let you connect
and get stuff done at the same time.

ees d when
to pausy ee ould help navigate any _

on your to-do list. }

stressog

Should you hold on or move on?

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Page 66 of 87

Filed 05/01/24

Case 1:24-cv-03464-LTS Document 1

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Case 1:24-cy-03464-LTS _Document1._Filed. 05/01/24 __ Page 67 of 8

-RESENTED BY

Aug 25, 2023 - The planetary aspect that is
forming may encourage you to be you more
extravagant t than you can actual efor [here is
trusting in the bqugulll wf e. of the universe to bring
all you need tig yOu want to take the special
person in youf life out for a really good meal. Just

be sure you rally do have the funds.

What happens when competpety meets

connection? Real love. °
Case 1:24-cv-03464-LTS pak! 4 Filed 05/01/24 Page 68 of 87
AUGUST 13

8:51 PM

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What if we » said you are more > than the stories
you've been told about yourself? What if we
said you are infinite and so is the possibility of

Va can co-create? This is your reminder

ne the old narratives. To examine the

ase” BO past, to do what you need to in
8 ze. oe
order to be free. So, be free. Empty your mind

of the dos and the don’ {Saas

you allow for fresh
inspiration to come through. The entire
Universe will conspire, to bless you with what

you need and what you ‘want when you are in

le wen ew nee bh ei ee bh LeAnne tee eak
8 ve rizon wase 1: 24- -CV- 03464- LTS ereyTeM | Filed 05/01/24 Page tol a: é iY e

fe fe g *

The week ahead sees you booked ‘blessed and
busy! Youre pursuing your soul’s calling.
You're dedicating yourself to that which brings
you joy *and* enables you to bring more
lightness and brightness into the big, bad
world. There’s no such thing as perfect.
However, this is as close to perfect as it gets,
beautiful one. In the realm of romance, » Youre
with somebody who’ S been j in your oybit fora
while now. Is there more to this egfnection

than just chemistry, though? To avoid

misunderstandings later, be clear about your

thonchts and feelings fram the start.
Page 72 of 87 j 3

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This i is s the week to be bos f
busy, Virgo! This is the week to show up as the
star of every show as you inspire your fellow

travellers to follow their bliss. Something tells

us you are reagy to co-create magic with those

oa

you. feel that creative chemistry with. As such,

ene to. awaken the good

rritan within. To think of ways in which
you can support and uplift the collective. The
secret to living a fulfilled life: placing service at

the front and centre of everything you create
and offer.
Filed 05/01/24

Case 1:24-cv-03464-LTS Document 1

Page 73 of 87

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Now oes. 8 So try guiing yourself ~ what can I

Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 75 of 87

Theft and Hacking of Phone Data reused for Business and Personal Use:

[, Petitioner, Pshatoia LaRose, have attached images of Respondent, Sean Combs and
other Individuals of Combs Family reusing my Images for Business and Personal Use.
There are more images other thao what Respondent has atlached if needed, However, as
you can see Respondent, Sean Combs and Famuly has continuously stalked Petitioner,
Pshatoia LaRose prior to her Case Filing of Domestic Violence and Civil Clarm and also
afier these allegations were filed further identifying while Petitioner, Pshatoia LaRose
shall have Right to a Fair ‘Trial in both Criminal and Civil Disputes against Respondent,
Sean Combs, Individuals included in Images are Brands and Family Members related to
Respondent, Sean Combs,
Case 1:24-cv-034§

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Case 1:24-cv-03464-LTS Document1 Filed 05/01/24 Page 87 of 87

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